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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                       2/23/2021


 United States of America,

                 –v–
                                                                                18-cr-224 (AJN)
 Ali Sadr Hashemi Nejad,
                                                                                    ORDER
                       Defendant.




ALISON J. NATHAN, District Judge:

        Pursuant to the Court’s February 17, 2021 Opinion, Garrett Lynch has requested the

Court file the attached declaration and exhibits on his behalf because he does not have electronic

filing privileges.



        SO ORDERED.


Dated: February 23, 2021                           __________________________________
       New York, New York                                  ALISON J. NATHAN
                                                         United States District Judge
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           EXHIBIT 1
                 Case 1:18-cr-00224-AJN Document 406 Filed 02/23/21 Page 8 of 39




From:                Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent:                Thursday, December 19, 2019 5:31 PM
To:                  Lynch, Garrett
Cc:                  Lake, Stephanie (USANYS); Krouse, Michael (USANYS)
Subject:             Re: Sadr MILs


Ah, got it. If you can think of places/ways to include that in the motion, I’m open and happy to incorporate language. Let
me know and thank you!

On Dec 19, 2019, at 5:21 PM, Lynch, Garrett <LynchG@dany.nyc.gov> wrote:

        The former‐‐the SWIFT platform is private. That said, failure to be transparent can violate any number of
        federal regs. All of the so‐called "bank sanctions" case were based on foreign banks "stripping,"
        omitting, or replacing info in SWIFT messages to ensure that they cleared through U.S. banks. Here, Ali
        in effect was telling PDVSA, "don't include IIHC in the beneficiary field, include Clarity."

        (Now I'm really going off on a tangent, but Commerzbank was an intermediary bank in the first USD
        payment (to Stratus Turkey) and they actually picked up on "Stratus" in the payment message, drew the
        connection to the Iranian entity, and filed a report with OFAC.)




        ‐‐‐‐‐‐‐‐ Original message ‐‐‐‐‐‐‐‐
        From: "Kim, Jane (USANYS) 4" <Jane.Kim@usdoj.gov>
        Date: 12/19/19 4:57 PM (GMT‐05:00)
        To: "Lynch, Garrett" <LynchG@dany.nyc.gov>
        Cc: "Lake, Stephanie (USANYS)" <Stephanie.Lake@usdoj.gov>, "Krouse, Michael (USANYS)"
        <Michael.Krouse@usdoj.gov>
        Subject: Re: Sadr MILs

        Is this a banking reg or a federal reg?

        On Dec 19, 2019, at 4:54 PM, Lynch, Garrett <LynchG@dany.nyc.gov> wrote:

                Re: the transparency requirement, it’s a little technical, particularly for the MIL, but the
                primary way to effect international payments of the kind contemplated by the U‐turn
                exemption is/was through the SWIFT messaging platform, and the SWIFT message type
                for this kind of payment (the MT‐103) has mandatory fields for the disclosure of the
                underlying parties to a transaction—i.e., the originator and the beneficiary—so that the
                processing banks know exactly who’s involved in any given transaction (hence, the
                inclusion of “Iranian International Housing Company” on the payment message would
                have hit on any U.S. bank’s filter). We have several examples of Ali receiving copies of
                SWIFT messages—he knew what info they contained and what had to be included.




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From: Kim, Jane (USANYS) 4 [mailto:Jane.Kim@usdoj.gov]
Sent: Thursday, December 19, 2019 4:26 PM
To: Crowley, Shawn (USANYS) <Shawn.Crowley@usdoj.gov>; Bove, Emil (USANYS)
<Emil.Bove@usdoj.gov>
Cc: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Krouse, Michael (USANYS)
<Michael.Krouse@usdoj.gov>; Lynch, Garrett <LynchG@dany.nyc.gov>
Subject: Sadr MILs

All:

Attaching an updated version (redline and clean). We had to knock out 2 docs that are
in our 151 not‐usable docs. Probation has 3 SKN passports for the defendant; the first
one has an issue date in 2009 (the others have no issue date, presumably because they
are duplicates).

Shawn, I incorporated and addressed all your comments. Thank you. To your question
re: Berman’s rulings in Atilla, he (i) denied the motion to preclude
argument/evidence/cross on bank negligence (they didn’t move on the subject of
negligible harm); and (ii) denied the motion in part re: cross of Dubowitz, allowing the
defense to cross on donations that were public. He also denied most of the MILs from
both sides and these rulings are not so evident from the docket.

Let us know if you have any more revisions. We’ll proof/TOA/etc. tonight.

Thanks,
Jane



 CC‐1                     Mohammed Sadr
 CC‐2                     Cetinel
 CC‐3                     Zanganeh
 CC‐4                     Karimi
 CC‐5                     Cinar
 CC‐6                     Moayed
 CC‐7                     Taheri
 CC‐8                     Estiroti
 CC‐9                     Schneider


Jane Kim
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
New York, New York 10007
Phone: (212) 637‐2038
Email: jane.kim@usdoj.gov




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            EXHIBIT 2
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From:                Lynch, Garrett <LynchG@dany.nyc.gov>
Sent:                Friday, January 10, 2020 4:52 PM
To:                  'Lake, Stephanie (USANYS)'
Cc:                  Kim, Jane (USANYS) 4; Krouse, Michael (USANYS)
Subject:             RE: Sadr - wire transfers
Attachments:         Commerz OFAC disclosure.pdf


In the spirit of closing the loop on the $29M payment through Commerz, attached is the voluntary disclosure Commerze
made to OFAC re: the payment.

From: Lake, Stephanie (USANYS) [mailto:Stephanie.Lake@usdoj.gov]
Sent: Friday, January 10, 2020 3:16 PM
To: Lynch, Garrett <LynchG@dany.nyc.gov>
Cc: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>
Subject: RE: Sadr ‐ wire transfers

Closing the loop on this– I found a document in the material Fuenmayor gave us that discusses the $29 million transfer
through Fondo Chino, and he also mentioned it in the last meeting. I think this should be helpful in tying the wire
information we have showing the Fondo Chino transfer to PDVSA. The doc is attached, if anyone cares, but it’s also en
Espanol (I’ve requested translation). Pages 14‐15.

From: Lynch, Garrett <LynchG@dany.nyc.gov>
Sent: Wednesday, January 08, 2020 12:46 PM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Subject: RE: Sadr ‐ wire transfers

The Venezuelans used various state‐owned “funds” and banks to fund various government projects, among them
BANDES, the economic and social development bank (which, I believe made some early payments (not ours) related to
the project), and Fondo Chino (the Chinese‐Venezuelan Fund). Fondo Chino (at least ostensibly) was funded by oil sales
to and loans from China (I think PDVSA and the government liberally moved money around). I forget exactly why Fondo
Chino was used to make the first payment (or if we ever knew for sure) – my guess is that PDVSA, which controlled all
oil‐related funds (i.e., the Venezuelan purse), had adequate funds in the Fondo Chino account to make the payment
from that account. I believe the money came from a Banco del Tesoro account in Venezuela, which had a correspondent
relationship with Commerz in Germany. Thereafter, they used PDVSA accounts at Banco Espirito Santo in Portugal.

From: Lake, Stephanie (USANYS) [mailto:Stephanie.Lake@usdoj.gov]
Sent: Wednesday, January 8, 2020 11:02 AM
To: Lynch, Garrett <LynchG@dany.nyc.gov>
Cc: Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>; Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>
Subject: RE: Sadr ‐ wire transfers

Found the first one. Thanks. Do you know why it came from “Fondo Chino” / what that is?

That’s fine on two. Just wanted to make sure I wasn’t missing some other records that would show that information.

Definitely agree on the third point.

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Thank you!

From: Lynch, Garrett <LynchG@dany.nyc.gov>
Sent: Wednesday, January 08, 2020 10:04 AM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
Cc: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>
Subject: RE: Sadr ‐ wire transfers


1. Re: the first payment, there should be a copy of the SWIFT message in the Commerzbank production. In my version of
the subpoena compliance production it's a PDF titled "Copy".

2. Re: the identity of the intermediary bank, the bank whose business record the wire transfer is is the intermediary
bank, so the witness will be able to state that.

3. Also, for several of the payments, we have additional search warrant documents ‐‐ e.g., while we may just have the
wire transfer record from the clearing bank, we may also have a SWIFT message attached to an email, or a Hyposwiss
record, or some other document which identifies the payment route. When the dust settles on the SW docs, we can
reconstruct my old payments binders where I had all of the documents bundled together for each payment (the
payment instruction letter, the bank record(s), emails, attachments, etc.). This is what we did for the GJ.




From: Lake, Stephanie (USANYS) [mailto:Stephanie.Lake@usdoj.gov]
Sent: Tuesday, January 7, 2020 6:19 PM
To: Lynch, Garrett <LynchG@dany.nyc.gov>
Subject: FW: Sadr ‐ wire transfers

My original email had three attachments, which had to be sent to you securely. So you should be getting a secure
message with instructions on how to access it.

From: Lake, Stephanie (USANYS)
Sent: Tuesday, January 07, 2020 5:37 PM
To: Lynch, Garrett <LynchG@dany.nyc.gov>; Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Kim, Jane (USANYS) 4
<JKim4@usa.doj.gov>
Subject: Sadr ‐ wire transfers

See attached a spreadsheet (Payments) showing each transfer and where I found documentation. A few things:

    1) I didn’t find a wire confirmation for the 4/4/2011 $29 million transfer. I did find reference to it in the CHIPS
       subpoena returns. It seems to show that it went from “Fondo Chino‐Venezolano” to Stratus International
       Contracting (see attached two spreadsheets that show this). Garrett – do you know if we have a wire
       confirmation for that transfer?

    2) I noticed that the wire confirmations don’t generally show the U.S. intermediary bank on them. Is there other
       documentation I’m missing that has this information?

*All documents are saved here: \\Usa.doj.gov\cloud\NYS\StAndrews\Shared\Iran VEHousing‐
2017R01160\###Trial\Documents\Payment Records and here:
\\Usa.doj.gov\cloud\NYS\StAndrews\Shared\Iran VEHousing‐2017R01160\Evidence [INT]\Discovery\#5 ‐ Subpoena
Returns\To Produce.

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Also – Garrett, I was thinking that if you don’t already have the ability to remotely login to our network, we should have
that set up! That way the file paths above wouldn’t be useless to you.

Thanks!

Stephanie Lake
Assistant United States Attorney
Southern District of New York
One Saint Andrew’s Plaza
New York, NY 10007
Tel: (212) 637‐1066




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            EXHIBIT 3
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From:                Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Sent:                Thursday, January 30, 2020 2:38 PM
To:                  Lake, Stephanie (USANYS); Lynch, Garrett; Krouse, Michael (USANYS)
Subject:             RE: Commerzbank


Thanks, GL. Depending on how things go on Monday, we should also send trial subpoenas to the email providers.

From: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>
Sent: Thursday, January 30, 2020 2:11 PM
To: Lynch, Garrett <LynchG@dany.nyc.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael (USANYS)
<MKrouse@usa.doj.gov>
Subject: RE: Commerzbank

Good call. I think it makes sense for you to go ahead and reach out about getting a witness. Thanks!

From: Lynch, Garrett <LynchG@dany.nyc.gov>
Sent: Thursday, January 30, 2020 1:02 PM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael
(USANYS) <MKrouse@usa.doj.gov>
Subject: Commerzbank

One thing to flag: I don’t think anyone has spoken to someone at Commerz. We need them for the first USD payment
from Fondo Chino to Stratus International (which is a big one: $29.4 million). All of the other payments involve either
JPMC or Citi, but the first solely involved Commerz. I have contacts in their legal department if you want me to reach
out to them about getting a witness (at the very least, we need someone to authenticate the wire transfer record in the
event the defense doesn’t stipulate).

Garrett A. Lynch
Deputy Bureau Chief
Major Economic Crimes Bureau
New York County District Attorney’s Office
(212) 335‐4335
lynchg@dany.nyc.gov




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            EXHIBIT 4
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From:                Lynch, Garrett <LynchG@dany.nyc.gov>
Sent:                Saturday, February 1, 2020 12:54 PM
To:                  Lake, Stephanie (USANYS); Kim, Jane (USANYS) 4; Krouse, Michael (USANYS)
Subject:             RE: Trial witness


I did. They're happy to provide a witness (obviously happier to just provide a custodian). She believes (I think rightly)
that they discovered the Stratus payment and filed the voluntary disclosure due to our investigation into the bank. That
makes sense since they discovered the payment retroactively; it wasn't flagged in real time. So we can discuss how we
would want to handle.



‐‐‐‐‐‐‐‐ Original message ‐‐‐‐‐‐‐‐
From: "Lake, Stephanie (USANYS)" <Stephanie.Lake@usdoj.gov>
Date: 2/1/20 9:54 AM (GMT‐05:00)
To: "Lynch, Garrett" <LynchG@dany.nyc.gov>, "Kim, Jane (USANYS) 4" <Jane.Kim@usdoj.gov>, "Krouse, Michael
(USANYS)" <Michael.Krouse@usdoj.gov>
Subject: RE: Trial witness


Did you talk to her / how’d it go? Do we know what the basis for the disclosure was?




From: Lynch, Garrett <LynchG@dany.nyc.gov>
Sent: Friday, January 31, 2020 11:05 AM
To: Lake, Stephanie (USANYS) <SLake@usa.doj.gov>; Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>; Krouse, Michael
(USANYS) <MKrouse@usa.doj.gov>
Subject: FW: Trial witness



I’ll reach out to her today. Let me know if anyone wants to join. The other asterisk with Commerz is that they filed a
voluntary disclosure with OFAC regarding the payment – we should discuss whether it’s worth having the Commerz
witness go into that. It was signed by the head of AML/Anti‐Fraud/Sanctions Compliance in NY – I’ll see if she’s still with
the bank.




From: Spiller, Christina (NY) [mailto:Christina.Spiller@commerzbank.com]
Sent: Friday, January 31, 2020 10:41 AM
To: Lynch, Garrett <LynchG@dany.nyc.gov>
Cc: Lake, Stephanie (USANYS) <Stephanie.Lake@usdoj.gov>; Krouse, Michael (USANYS) <Michael.Krouse@usdoj.gov>;
Kim, Jane (USANYS) 4 <Jane.Kim@usdoj.gov>
Subject: RE: Trial witness



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Hello Garrett,



I just got your message and am happy to speak at your convenience. I’m free for most of today (except
between 4.30 and 5.30 pm) and next week is pretty flexible as well.



Best,

Christina




Christina Spiller



Commerzbank AG

New York Branch

+1 (212) 895-5267




From: Lynch, Garrett [mailto:LynchG@dany.nyc.gov]
Sent: Friday, January 31, 2020 10:18 AM
To: Spiller, Christina (NY)
Cc: Lake, Stephanie (USANYS); Krouse, Michael (USANYS); Kim, Jane (USANYS) 4
Subject: Trial witness




Hello Christina,



I left you a voicemail yesterday about a case I’m handling with the Southern District that is going to trial in early
March. It involves a series of USD payments cleared through banks in New York in violation of U.S. sanctions against Iran
in the 2011‐2013 time period. In particular, one payment in April 2011 was processed through Commerzbank’s
Frankfurt and New York branches in the amount of $29 million (the wire transfer record is attached). At trial, we likely
will need a witness from Commerz to (a) authenticate the wire transfer record and possibly (b) testify about Commerz’s
payment screening at that time in NY. Can you let us know a good time to discuss?


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Thanks,

Garrett



Garrett A. Lynch

Deputy Bureau Chief

Major Economic Crimes Bureau

New York County District Attorney’s Office

(212) 335‐4335

lynchg@dany.nyc.gov




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            EXHIBIT 5
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From:                Spiller, Christina (NY) <Christina.Spiller@commerzbank.com>
Sent:                Monday, March 9, 2020 4:22 AM
To:                  Lynch, Garrett
Cc:                  Lake, Stephanie (USANYS); Fruchter, Michael
Subject:             RE: Trial witness


Hi Garrett,

I apologize but I didn't see your message until just now. My phone was in airplane mode and I'm in Austria for the week.
Can you please reach out to Mike Fruchter (copied) if you still need assistance, and I will also have my phone today.

Best,
Christina



Sent from my Samsung Galaxy smartphone.

‐‐‐‐‐‐‐‐ Original message ‐‐‐‐‐‐‐‐
From: "Lynch, Garrett" <LynchG@dany.nyc.gov>
Date: 3/7/20 2:46 AM (GMT+01:00)
To: "Spiller, Christina (NY)" <Christina.Spiller@commerzbank.com>
Cc: "Lake, Stephanie (USANYS)" <Stephanie.Lake@usdoj.gov>
Subject: RE: Trial witness


Hi Christina,

I'm sorry to disturb you on a Friday night, but are you available tonight or tomorrow to quickly discuss a possible trial
witness for Monday? I know this is very sudden notice, but an issue unexpectedly has made the one payment that went
through Commerz in our case relevant.

Thank you!

Garrett




‐‐‐‐‐‐‐‐ Original message ‐‐‐‐‐‐‐‐
From: "Spiller, Christina (NY)" <Christina.Spiller@commerzbank.com>
Date: 1/31/20 10:42 AM (GMT‐05:00)
To: "Lynch, Garrett" <LynchG@dany.nyc.gov>
Cc: "Lake, Stephanie (USANYS)" <Stephanie.Lake@usdoj.gov>, "Krouse, Michael (USANYS)"
<Michael.Krouse@usdoj.gov>, "Kim, Jane (USANYS) 4" <Jane.Kim@usdoj.gov>
Subject: RE: Trial witness


Hello Garrett,
                                                            1
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I just got your message and am happy to speak at your convenience. I’m free for most of today (except
between 4.30 and 5.30 pm) and next week is pretty flexible as well.



Best,

Christina




Christina Spiller



Commerzbank AG

New York Branch

+1 (212) 895-5267




From: Lynch, Garrett [mailto:LynchG@dany.nyc.gov]
Sent: Friday, January 31, 2020 10:18 AM
To: Spiller, Christina (NY)
Cc: Lake, Stephanie (USANYS); Krouse, Michael (USANYS); Kim, Jane (USANYS) 4
Subject: Trial witness




Hello Christina,



I left you a voicemail yesterday about a case I’m handling with the Southern District that is going to trial in early
March. It involves a series of USD payments cleared through banks in New York in violation of U.S. sanctions against Iran
in the 2011‐2013 time period. In particular, one payment in April 2011 was processed through Commerzbank’s
Frankfurt and New York branches in the amount of $29 million (the wire transfer record is attached). At trial, we likely
will need a witness from Commerz to (a) authenticate the wire transfer record and possibly (b) testify about Commerz’s
payment screening at that time in NY. Can you let us know a good time to discuss?



Thanks,
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Garrett



Garrett A. Lynch

Deputy Bureau Chief

Major Economic Crimes Bureau

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            EXHIBIT 6
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From:                    Lynch, Garrett <LynchG@dany.nyc.gov>
Sent:                    Sunday, March 8, 2020 9:42 PM
To:                      'Lake, Stephanie (USANYS)'
Subject:                 RE: Proofing and then I'll file these objections


Under the bus again! Eureka! If you care for it, here’s the outline of the Commerz investigation:

    ‐   Initiated in January 2011; concluded in March 2015.
    ‐   Focused on conduct in period from 2002 – 2007 at Commerzbank, AG in Germany.
    ‐   Obtained voluminous data related bank’s USD transaction activity in that period.
    ‐   Also obtained information during investigation about sanctions related activity the bank detected during the
        course of our investigation and voluntarily reported to OFAC. Received 217 pages. This letter was included in
        those 217 pages.
     ‐
In January 2020, I recalled seeing this document in those records and provided it to you.

I have reviewed the other 217 records, and there is no other record related to any individual or entity in this case.

I have reviewed the emails and records we obtained related to the author of the letter (Deepa Keswani), and all of the
records we have (other than the 217 pages of OFAC disclosures) date to the period of the conduct under investigation
(i.e., 2002‐2007) and do not relate to this transaction or to these entities.

Still reviewing other stuff…

From: Lake, Stephanie (USANYS) [mailto:Stephanie.Lake@usdoj.gov]
Sent: Sunday, March 8, 2020 9:31 PM
To: Kim, Jane (USANYS) 4 ; Krouse, Michael (USANYS) ; Lynch, Garrett ; Lynch, Garrett (USANYS) [Contractor]
Subject: RE: Proofing and then I'll file these objections

Here’s a shitty draft.

From: Kim, Jane (USANYS) 4 <JKim4@usa.doj.gov>
Sent: Sunday, March 08, 2020 9:15 PM
To: Krouse, Michael (USANYS) <MKrouse@usa.doj.gov>; Lynch, Garrett <LynchG@dany.nyc.gov>; Lake, Stephanie
(USANYS) <SLake@usa.doj.gov>; Lynch, Garrett (USANYS) [Contractor] <GLynch@usa.doj.gov>
Subject: Proofing and then I'll file these objections

In 10 minutes unless anyone has objections.

Jane Kim
Assistant United States Attorney
Southern District of New York
One St. Andrew’s Plaza
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